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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,                           :      Civil No. 1:20-CV-292
                                              :
      Plaintiff                               :      (Judge Wilson)
                                              :
v.                                            :
                                              :
ECKERT, SEAMANS, et al.,                      :      (Magistrate Judge Carlson)
                                              :
      Defendants                              :

                                      ORDER


      AND NOW, this 23d day of February 2022, at the request of the parties IT

IS HEREBY ORDERED THAT a settlement conference shall be conducted in the

undersigned’s chambers on April 5, 2022 at 1:00 p.m., in the U.S. Courthouse,

Harrisburg. Consistent with the court’s COVID-19 settlement conference protocols

parties and counsel may elect to attend in-person, telephonically, or by video, but all

participants must notify the court of the agreed-upon format for the conference in

their settlement memoranda. If counsel wish to utilize ZOOM or similar technology

they must arrange for such services and provide the court with log-in contact

information one week prior to the conference.

      By March 30, 2022, the parties shall submit to the undersigned, U.S. mail or

electronic mail, at:
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Chambers_of_Magistrate_Judge_Martin_Carlson@pamd.uscourts.gov

a brief, concise and confidential settlement memorandum setting forth the parties’

assessment of the case, and settlement recommendations.

      In addition, by March 29, 2022, the parties shall begin the settlement process

by exchanging a demand by the plaintiff, and a counter-offer by the defendants. The

parties’ confidential memoranda should update the Court on the status of these

settlement discussions.

      Enclosed please find the court’s COVID-19 settlement conference protocols.




                                /s/ Martin C. Carlson
                                Martin C. Carlson
                                United States Magistrate Judge
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                 COVID -19 Settlement Conference Guidelines
                         Magistrate Judge Carlson

      Recognizing the new times in which we live, we are adopting the following
guidelines for settlement conferences consistent with the court’s COVID-19 safety
protocols.

   1. If any conference participants are experiencing COVID symptoms, or have
      been in contact with someone who has tested positive for COVID-19, please
      notify the court and your conference will be rescheduled.

   2. Prior to any in-person settlement conferences, the parties will confer regarding
      whether they wish to conduct the entire conference telephonically or through
      video-conference. If any party prefers to conduct the conference in this
      fashion, they should notify the court and we will favorably consider such
      requests. Likewise if parties wish to conduct a conference in person, but wish
      to continue the currently scheduled conference in light of pandemic conditions
      they should notify the court and we will favorably consider such requests.

   3. If specific participants in an in-person settlement conference wish to
      participate telephonically, they should notify the court and we will favorably
      consider such requests.

   4. Participants in in-person settlement conferences should comply with masking
      and social distancing recommendations by wearing masks in the courthouse,
      and by remaining six feet apart while participating in the conference. The
      settlement judge will also comply with these mask and social distancing
      guidelines.
